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Attorneys for Gemini Trust Company, LLC,
Acting in capacity as Agent on behalf of Earn users

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:
                                                                    Chapter 11
Genesis Global Holdco, LLC, et al.,                                 Case No. 23-10063 (SHL)

                                                   Debtors.1        Joint Administration Pending



         NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS


                  PLEASE TAKE NOTICE that Hughes Hubbard & Reed LLP hereby appears in

the above-captioned cases pursuant to Rule 9010(b) of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) as counsel to Gemini Trust Company, LLC, acting in

capacity as Agent on behalf of Earn users (“Gemini”), and requests, pursuant to Bankruptcy

Rules 9007 and 9010(b), that all notices given or required to be given in these cases and all

papers served or required to be served in these cases be given to and served upon the

undersigned at the following office address:

                                    Hughes Hubbard & Reed LLP
                                    One Battery Park Plaza
                                    New York, New York 10004
                                    Attention: Anson B. Frelinghuysen, Esq.

1.   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification number
     (as applicable), are: Genesis Global Holdco, LLC (8219); Genesis Global Capital, LLC (8564); Genesis Asia
     Pacific Pte. Ltd. (2164R). For the purpose of these chapter 11 cases, the service address for the Debtors is 250
     Park Avenue South, 5th Floor, New York, NY 10003.
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                                                                                                     2


                                           Dustin P. Smith, Esq.
                                           Jeffrey S. Margolin, Esq.

               PLEASE TAKE FURTHER NOTICE that service by electronic mail should be

made on Hughes Hubbard & Reed LLP at the following addresses:

                               anson.frelinghuysen@hugheshubbard.com
                               dustin.smith@hugheshubbard.com
                               jeff.margolin@hugheshubbard.com

               PLEASE TAKE FURTHER NOTICE that the foregoing demand includes not

only the notices and papers referred to in the Bankruptcy Rules specified above, but also

includes, without limitation, orders and notices of any application, motion, petition, pleading,

request, complaint, or demand, whether formal or informal, whether written or oral, and whether

transmitted or conveyed by mail, delivery, telephone, telegraph, telex, facsimile transmission, e-

mail, or otherwise.

               PLEASE TAKE FURTHER NOTICE that the filing and service of this Notice of

Appearance shall not evidence 1) a waiver of any rights or remedies available to Gemini, or 2) a

consent to the jurisdiction of this court on any matters as to which such waiver or consent is or

may be relevant, including, but not limited to matters relative to jurisdiction, venue, right to trial

by jury, right to trial by an Article III court and any and all such similar matters.

               PLEASE TAKE FURTHER NOTICE that this Notice of Appearance is not and

shall not be construed as a waiver of any of the above-named party’s jurisdictional, substantive

or
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procedural rights and remedies in connection with the above-captioned proceedings, all of which

are hereby expressly reserved.

Dated: January 20, 2023
       New York, New York


                                                HUGHES HUBBARD & REED LLP

                                                By: /s/ Anson B. Frelinghuysen
                                                    Anson B. Frelinghuysen
                                                    Dustin P. Smith
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                                              Attorneys for Gemini Trust Company, LLC,
                                              Acting in capacity as Agent on behalf of Earn
                                              users
